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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   OMAR BECERRA,                                             Case No.: 9:20-cv-80597-DMM

                    Plaintiff,
   v.

   MEDICAL DATA SYSTEMS, INC.,
   d/b/a MEDICAL PAYMENT DATA,
   HEALTHCARE REVENUE RECOVERY
   GROUP LLC, TRANS UNION LLC,
   EXPERIAN INFORMATION SOLUTIONS,
   INC. and EQUIFAX INFORMATION
   SERVICES, LLC,
                                                                     /

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, OMAR BECERRA, and Defendant,
    HEALTHCARE REVENUE RECOVERY GROUP LLC (HRRG) jointly stipulate to a Dismissal
    with Prejudice of this action with each party to bear its own attorney’s fees and costs. Plaintiff and
    HRRG further stipulate that this Court shall retain jurisdiction to enforce the terms of the settlement
    agreement.
    Dated: July 21, 2020

    Respectfully submitted,

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                                                     RECOVERY GROUP, LLC


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                                CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that a true and correct copy of the foregoing was
   electronically filed with the Clerk of the Court using the CM/ECF system on this July 21,
   2020. I also certify that the foregoing document is being served this day on all counsel via
   transmission of Notices of Electronic Filing generated by CM/ECF.

   SERVICE LIST

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